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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

REPUBLIC OF PANAMA,

                Petitioner,

                                            Case No. 8:12-CV-1647-T-17MAP

v.

JAIME JURADO and
NATIONS ENERGY
CORPORATION,

                Respondents.
                                  /


                               ORDER ENTERING JUDGMENT

         This matter comes before the Court on the notice of dismissal of bankruptcy
cases and request for entry of judgment (Dkt. 17) of the Republic of Panama to confirm
and enforce an ICSID arbitration award pursuant to 22 U.S.C. § 1650a. After
considering the notice and request, and being sufficiently advised, the Court is of the
opinion that the request should be granted as set forth below. Accordingly, it is


         ORDERED AND ADJUDGED that:



         1. The November 24, 2010 arbitration award in ICSID Case No. ARB/06/19 in
         favor of Panama and against each of Respondents Jurado and Nations, in the
         reduced amount of US $3,912,219.17, is hereby confirmed and enforced;

         2. Panama is awarded the sum of US $3,912,219.17 plus such post-judgment
         interest as provided for in 28 U.S.C. § 1961; and

         3.   Panama is awarded its costs in this action, including reasonable attorneys'
         fees and disbursements; and
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      4.   the Clerk of the Court is hereby directed to enter judgment in accordance
      with this Order, and close this case.

      DONE and ORDERED in Chambers, in Tampa, Florida, on this 13th day of
June, 2013.



                                                     A KOVACHEVICFL
                                         UNITED STATES DISTRICT JODG

Copies furnished to:
Scott A. Underwood, Esq.
Whitney Debevoise, Esq.
Leon Alva Williamson, Jr.
